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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-1729V
                                        (not to be published)


    ERIN JENSEN,
                                                                Chief Special Master Corcoran
                         Petitioner,
    v.                                                          Filed: September 18, 2020


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


Theodore J. Hong, Maglio Christopher & Toale, PA, Seattle, WA, for Petitioner.

Debra A. Filteau Begley, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

        On November 7, 2018, Erin Jensen filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a right shoulder injury related to
vaccine administration, as a result of an influenza vaccine she received on October 27,
2016. (Petition at 1). On June 29, 2020, a decision was issued awarding compensation
to Petitioner based on the Respondent’s proffer. (ECF No. 43).



1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Petitioner has now filed a motion for attorney’s fees and costs, dated August 26,
2020, (ECF No. 49), requesting a total award of $38,840.85 (representing $38,009.90 in
fees and $830.95 in costs). In accordance with General Order #9 Petitioner filed a signed
statement indicating she incurred no out-of-pocket expenses. (ECF No. 49-3).
Respondent reacted to the motion on September 10, 2020 indicating that he is satisfied
that the statutory requirements for an award of attorney’s fees and costs are met in this
case and defers to the Court’s discretion to determine the amount to be awarded. (ECF
No. 50). On September 10, 2020, Petitioner filed a reply requesting the fees and costs be
awarded in full. (ECF No. 51).

      I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

        The Vaccine Act permits an award of reasonable attorney’s fees and costs. §
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs. I
award a total of $38,840.85 (representing $38,009.90 in fees and $830.95 in costs) as a
lump sum in the form of a check jointly payable to Petitioner and Petitioner’s counsel.
Petitioner requests check be forwarded to Maglio, Christopher & Toale, PA, 1605
Main Street, Suite 710, Sarasota, Florida 34236. In the absence of a timely-filed motion
for review (see Appendix B to the Rules of the Court), the Clerk shall enter judgment in
accordance with this decision. 3

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




3 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                 2
